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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION



 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            ORDER
         vs.

 MICHAEL JAMES MASON,

                      Defendant.


       Pending before the Court is the Plaintiff the United States of America's

motion to file its response to Defendant's motion to dismiss or enjoin prosecution

under seal. For good cause shown,

       IT IS ORDERED that Plaintiffs Motion for Leave to File Under Seal

Response to Motion to Suppress and Motion to Dismiss or Enjoin Prosecution

(Doc. 41) is GRANTED. The Clerk of Court shall seal Plaintiffs response (Doc.

42).
                     ~
       Dated this 30 day of January, 201 .




                                       Qana L. Christensen, Chief Judge
                                       United States District Court

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